Case 8:20-cv-03290-PJM Document 110 Filed 01/13/21 Page 1 of1

UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
PETER J. MESSITTE 6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE GREENBELT, MARYLAND 20770
301-344-0632
MEMORANDUM

TO: Counsel of Record

FROM: Judge Peter J. Messitte

RE: Rothman et al. v. Snyder

Civ. No. PJM-20-3290

DATE: January 12, 2021

* * *

Upon consideration of the Washington Post’s Motion for Reconsideration (ECF No. 107), the
Court GRANTS the Post’s request to reconsider the provision of the Court’s December 23,
2020, Memorandum Order relating to the filing of negative accusations by the parties.

The Clerk is directed to unseal those documents that remain sealed pursuant to the December 23
Memorandum Order—specifically, the attachments to Mr. Levander’s December 29 letter (ECF
Nos. 92-1, 92-2, 92-3, and 92-4), Mr. Murphy’s January 5 letter (ECF No. 104), and Mr.
Levander’s January 6 response letter (ECF No. 108).

Any future pleadings, correspondence, and exhibits shall be publicly filed, unless they contain
information that should remain sealed or redacted pursuant to the Court’s Supplemental Opinion
and Order of December 17, 2020. However, the Court admonishes the parties that the
nondisparagement provision of the Court’s November 19, 2020, Order remains in full force, and
the Court will not hesitate to sanction any party whose conduct, within this Court’s docket or
elsewhere, may interfere with another party’s rights relative to the potential sale of Plaintiff's
shares.

Despite the informal nature of this ruling, it shall constitute an order of the Court, and the Clerk
is directed to docket it accordingly.
(7

iC /s/
\PETER J. MESSITTE
UNITED STATES DISTRICT JUDGE

cc: Court file
